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Fill in this information to identify the case:

Debtor name         Livingston Township Fund One, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF MISSISSIPPI

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       November 6, 2023                X /s/ Michael Bollenbacher
                                                           Signature of individual signing on behalf of debtor

                                                            Michael Bollenbacher
                                                            Printed name

                                                            Managing Member (See Attached)
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Livingston Township Fund One, LLC
Title of Authorized Representative

Mike Bollenbacher, as a Managing Member of Los Robles MS Investment Properties, LLC,
which is the Manager of Livingston Township Management, LLC, which is the Manager of
Livingston Township Fund One, LLC.
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 Fill in this information to identify the case:
 Debtor name Livingston Township Fund One, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                Check if this is an
                                                MISSISSIPPI
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 SBA                                                                                                                                                           $113,000.00
 P.O. Box 3918
 Portland, OR 97208
 USDA Rural                                          Guaranty on BOM           Contingent                                                                                $0.00
 Development                                                                   Unliquidated
 P.O. Box 66879
 Saint Louis, MO
 63166




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Fill in this information to identify the case:

 Debtor name            Livingston Township Fund One, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        5,600,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           552,900.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        6,152,900.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,619,202.40


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,170,138.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,789,340.40




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Livingston Township Fund One, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF MISSISSIPPI

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Guaranty Bank                                     Checking                                                                       $2,800.00




          3.2.     Wells Fargo                                       Checking                                                                         $100.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $2,900.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       Livingston Township Fund One, LLC                                              Case number (If known)
             Name


          11a. 90 days old or less:                   550,000.00       -                                   0.00 = ....                 $550,000.00
                                       face amount                            doubtful or uncollectible accounts
                                      Past due rent from tenant


12.       Total of Part 3.                                                                                                         $550,000.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of            Nature and                Net book value of         Valuation method used   Current value of
          property                               extent of                 debtor's interest         for current value       debtor's interest
          Include street address or other        debtor's interest         (Where available)
          description such as Assessor           in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                            page 2
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Debtor        Livingston Township Fund One, LLC                                            Case number (If known)
              Name

           55.1.    Approximately 5
                    acres with 4
                    commercial buildings                                                 $0.00                       $5,600,000.00




56.        Total of Part 9.                                                                                         $5,600,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                         page 3
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Debtor          Livingston Township Fund One, LLC                                                                   Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $2,900.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $550,000.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $5,600,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $552,900.00           + 91b.            $5,600,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,152,900.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 4
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Fill in this information to identify the case:

Debtor name          Livingston Township Fund One, LLC

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF MISSISSIPPI

Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
2.1    Bank of Montgomery                           Describe debtor's property that is subject to a lien                   $4,619,202.40             $5,600,000.00
       Creditor's Name                              Approximately 5 acres with 4 commercial
                                                    buildings
       P.O. Box 7294
       Natchitoches, LA 71457
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                            $4,619,202.4
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Bank of Montgomery
        c/o Jim Spencer, Esq.                                                                                 Line   2.1
        P.O. Box 650
        Jackson, MS 39205




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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Debtor    Livingston Township Fund One, LLC                                Case number (if known)
          Name

      Bank of Montgomery
      c/o Erin McManus, Esq.                                                       Line   2.1
      P.O. Box 650
      Jackson, MS 39205




Official Form 206D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property   page 2 of 2
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Fill in this information to identify the case:

Debtor name        Livingston Township Fund One, LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF MISSISSIPPI

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $50,000.00
          Ashford Family Enterp.                                               Contingent
          c/o John Clay                                                        Unliquidated
          208 Sunset Circle                                                    Disputed
          Madison, MS 39110
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $50,000.00
          Basile Trust                                                         Contingent
          c/o Steve Basile                                                     Unliquidated
          5826 Burton Ave.                                                     Disputed
          San Gabriel, CA 91775
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $50,000.00
          Bennie Bostic                                                        Contingent
          102 Ivy Brook Dr.                                                    Unliquidated
          Madison, MS 39110                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $330,000.00
          Bollenbacher Family Tr                                               Contingent
          c/o Jonna Bollenbacher                                               Unliquidated
          5430 Calhoun Ave.                                                    Disputed
          Sherman Oaks, CA 91401
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 4
                                                                                                          10827
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Debtor      Livingston Township Fund One, LLC                                               Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $150,000.00
         David Speck                                                  Contingent
         760 Fountain Springs                                         Unliquidated
         Glendora, CA 91741                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $100,000.00
         Equity Trust Co.                                             Contingent
         c/o Chris Koob                                               Unliquidated
         4389 Mason Montgomery                                        Disputed
         Mason, OH 45040
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $100,000.00
         Evergreen Trust                                              Contingent
         Attn: Ruby Chou                                              Unliquidated
         P.O. Box 1121                                                Disputed
         Palos Verdes Pen, CA 90274
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $25,000.00
         Juan Quintero                                                Contingent
         540 De Sales St.                                             Unliquidated
         San Gabriel, CA 91775                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $25,000.00
         Mario Arazon                                                 Contingent
         647 N. Main St., Ste B                                       Unliquidated
         Riverside, CA 92501                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $50,000.00
         Mark Flewelling                                              Contingent
         2555 Boulder Rd.                                             Unliquidated
         Altadena, CA 91001                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Michael L. Sharpe                                            Contingent
         6730 Huasna Road
                                                                      Unliquidated
         Arroyo Grande, CA 93420
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 4
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Debtor       Livingston Township Fund One, LLC                                                      Case number (if known)
             Name

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $27,138.00
          Mike Bollenbacher                                                    Contingent
          330 Glen Summer Road
                                                                               Unliquidated
          Pasadena, CA 91105
                                                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Robert Yamamoto                                                      Contingent
          1787 Roosevelt Ave.
                                                                               Unliquidated
          Altadena, CA 91001
                                                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $100,000.00
          Sam Grissom                                                         Contingent
          Douglas S. Vocelle                                                  Unliquidated
          104 Noah's Mill Rd.                                                 Disputed
          Madison, MS 39110
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.15      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $113,000.00
          SBA                                                                 Contingent
          P.O. Box 3918                                                       Unliquidated
          Portland, OR 97208                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.16      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Thomas D. Landrum                                                    Contingent
          104 Chestnut Hills Rd.
                                                                               Unliquidated
          Madison, MS 39110
                                                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          USDA Rural Development                                               Contingent
          P.O. Box 66879
                                                                               Unliquidated
          Saint Louis, MO 63166
                                                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Guaranty on BOM
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4
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Debtor      Livingston Township Fund One, LLC                                           Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.1       SBA
          % Drew Norwood                                                               Line     3.15
          501 E Court St #4.430
                                                                                              Not listed. Explain
          Jackson, MS 39201

4.2       USDA
          c/o Drew Norwood                                                             Line     3.17
          501 E Court St. S4.430
                                                                                              Not listed. Explain
          Jackson, MS 39201


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                          0.00
5b. Total claims from Part 2                                                              5b.    +     $                  1,170,138.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                    1,170,138.00




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 4
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Fill in this information to identify the case:

Debtor name       Livingston Township Fund One, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF MISSISSIPPI

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            26,000 sq. feet, Bar
           lease is for and the nature of        with minimal food
           the debtor's interest                 service
                                                 $3,000.00 per month
               State the term remaining          Expires 6/30/2028                  Briar Patch
                                                                                    1150 Old Cedars Lane
           List the contract number of any                                          Suite A
                 government contract                                                Forest, MS 39074


2.2.       State what the contract or            1400 sq. feet
           lease is for and the nature of        $2,445.00 per month
           the debtor's interest

               State the term remaining          Expires 9/30/2024                  Cedar Rose, LLC
                                                                                    114 Livingston Chur Rd
           List the contract number of any                                          Suite 2D
                 government contract                                                Flora, MS 39071


2.3.       State what the contract or            4,600 sq. feet of
           lease is for and the nature of        restaurant space
           the debtor's interest                 $6,600.00 per month

               State the term remaining          Expires 6/16/2026
                                                                                    E&N, LLC
           List the contract number of any                                          115 Livingston Church
                 government contract                                                Flora, MS 39071


2.4.       State what the contract or            1,100 sq. feet of space
           lease is for and the nature of        $1,604.00 per month
           the debtor's interest

               State the term remaining          Expires 9/30/2026
                                                                                    Livingston Candy & Cre
           List the contract number of any                                          1150 Od Cedars Lane
                 government contract                                                Flora, MS 39071




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 3
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Debtor 1 Livingston Township Fund One, LLC                                         Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.5.      State what the contract or        1,797 sq. feet of retail
          lease is for and the nature of    space
          the debtor's interest             $3,021.41 per month

             State the term remaining       Expires 9/30/2028              Livingston Cellars, LL
                                                                           1150 Old Cedars Lane
          List the contract number of any                                  Suite B
                government contract                                        Columbus, MS 39701


2.6.      State what the contract or        2,300 sq. feet of retail
          lease is for and the nature of    space
          the debtor's interest             $4,817.00 per month

             State the term remaining       Expires 11/2023
                                                                           Livingston Viking
          List the contract number of any                                  1030 Market Street
                government contract                                        Flora, MS 39071


2.7.      State what the contract or        Office space.
          lease is for and the nature of    $1,150.00 per month
          the debtor's interest

             State the term remaining       Expires 1/31/2027              Mike Marshall
                                                                           116 Livingston Chur Rd
          List the contract number of any                                  Suite C
                government contract                                        Flora, MS 39071


2.8.      State what the contract or        Office/Retail
          lease is for and the nature of    $500.00 per month
          the debtor's interest

             State the term remaining       Expires 2/28/2025
                                                                           Mitzi Wilinson
          List the contract number of any                                  116 Livingston Chur Rd
                government contract                                        Flora, MS 39071


2.9.      State what the contract or        1425 sq. feet of retail
          lease is for and the nature of    space
          the debtor's interest             $2,755.00 per month

             State the term remaining       Expires 3/31/2026              Palmetto
                                                                           114 Livingst Chur Rd
          List the contract number of any                                  Unit C
                government contract                                        Flora, MS 39071




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 3
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Debtor 1 Livingston Township Fund One, LLC                                       Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        8,800 sq. feet retail and
          lease is for and the nature of    restaurant space
          the debtor's interest             $17,512.00 per month

             State the term remaining       Expires 1/31/2025
                                                                        The Gathering
          List the contract number of any                               106 Livingston Chur Rd
                government contract                                     Flora, MS 39071




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 3 of 3
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Fill in this information to identify the case:

Debtor name      Livingston Township Fund One, LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF MISSISSIPPI

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Michael L.                  6730 Huasna Road                                          Bank of Montgomery                 D   2.1
          Sharpe                      Arroyo Grande, CA 93420                                                                      E/F
                                                                                                                                   G




   2.2    Mike                        330 Glen Summer Road                                      Bank of Montgomery                 D   2.1
          Bollenbacher                Pasadena, CA 91105                                                                           E/F
                                                                                                                                   G




   2.3    Robert                      1787 Roosevelt Avenue                                     Bank of Montgomery                 D   2.1
          Yamamoto                    Altadena, CA 91001                                                                           E/F
                                                                                                                                   G




   2.4    Thomas D.                   104 Chestnut Hills Rd.                                    Bank of Montgomery                 D   2.1
          Landrum                     Madison, MS 39110                                                                            E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Livingston Township Fund One, LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF MISSISSIPPI

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For prior year:                                                                     Operating a business                               $470,635.16
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                                $-37,059.60
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Livingston Township Fund One, LLC                                                  Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Bank of Montgomery                        Foreclosure                                                               Pending
                                                                                                                                 On appeal
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.


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Debtor      Livingston Township Fund One, LLC                                                     Case number (if known)




          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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Debtor      Livingston Township Fund One, LLC                                                    Case number (if known)



               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
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Debtor      Livingston Township Fund One, LLC                                                   Case number (if known)




     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Robert Yamamoto                                                                                                    1/2023-9/1/2023
                    1787 Roosevelt Avenue
                    Altadena, CA 91001

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

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Debtor      Livingston Township Fund One, LLC                                                   Case number (if known)



      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Michael Bollenbacher                                                             Only has possession of records since
                    330 Glen Summer Road                                                             September 1, 2023 as that is when he took
                    Pasadena, CA 91105                                                               over management.
      26c.2.        Lisa Ellison                                                                     Only has records since September 1, 2013
                    7021/2 Brent Avenue
                    South Pasadena, CA 91030

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Bank of Montgomery



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      See Attached




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation


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Debtor      Livingston Township Fund One, LLC                                               Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                        Employer Identification number of the pension
                                                                                                   fund




Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 7
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Debtor      Livingston Township Fund One, LLC                                                   Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         November 6, 2023

/s/ Michael Bollenbacher                                        Michael Bollenbacher
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Managing Member (See Attached)

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
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Livingston Township Fund One, LLC
Title of Authorized Representative

Mike Bollenbacher, as a Managing Member of Los Robles MS Investment Properties, LLC,
which is the Manager of Livingston Township Management, LLC, which is the Manager of
Livingston Township Fund One, LLC.
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                           Southern District of Mississippi
 In re       Livingston Township Fund One, LLC                                                                Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     November 6, 2023                                                         /s/ EILEEN N. SHAFFER
     Date                                                                     EILEEN N. SHAFFER
                                                                              Signature of Attorney
                                                                              ATTORNEY AT LAW
                                                                              P O BOX 1177
                                                                              JACKSON, MS 39215-1177
                                                                              (601) 969-3006 Fax: (601) 949-4002
                                                                              eshaffer@eshaffer-law.com
                                                                              Name of law firm
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                                                   United States Bankruptcy Court
                                                        Southern District of Mississippi
 In re    Livingston Township Fund One, LLC                                                               Case No.
                                                                           Debtor(s)                      Chapter       11

                                               LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                 Security Class Number of Securities                          Kind of Interest
business of holder
Ashford Family Enterp.                                                                                               3.79%
c/o John Clay
208 Sunset Circle
Madison, MS 39110

Basile Trust                                                                                                         3.79%
c/o Steve Basile
5826 Burton Ave.
San Gabriel, CA 91775

Bennie Bostic                                                                                                        3.79%
102 Ivy Brook Dr.
Madison, MS 39110

Bollenbacher Family Tr                                                                                               7.59%
c/o Jonna Bollenbacher
5430 Calhoun Ave.
Sherman Oaks, CA 91401

David Speck                                                                                                          11.38
760 Fountain Springs
Glendora, CA 91741

Equity Trust Co.                                                                                                     7.59%
c/o Chris Koob
4389 Mason Montgomery
Mason, OH 45040

Evergreen Trust                                                                                                      7.59%
Attn: Ruby Chou
P.O. Box 1121
Palos Verdes Peninsula, CA 90274

Juan Quintero                                                                                                        1.90%
540 De Sales St.
San Gabriel, CA 91775

Livingston Township
Management, LLC
1787 Roosevelt Ave.
Altadena, CA 91001

Los Robles MS
Investment Prop., LLC
1787 Roosevelt Ave.
Altadena, CA 91001


Sheet 1 of 2 in List of Equity Security Holders
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In re:    Livingston Township Fund One, LLC                                                          Case No.
                                                                                 Debtor(s)



                                               LIST OF EQUITY SECURITY HOLDERS
                                                                   (Continuation Sheet)

Name and last known address or place of                     Security Class Number of Securities                             Kind of Interest
business of holder

Mario Arazon                                                                                                                1.90%
647 N. Main St., Ste B
Riverside, CA 92501

Mark Flewelling                                                                                                             3.79%
2555 Boulder Rd.
Altadena, CA 91001

Mike Bollenbacher                                           Managing                                                        10.62%
330 Glen Summer Rd.                                         Member
Pasadena, CA 91105

Robert Yamamoto                                             Managing                                                        .24%
1787 Roosevelt Ave.                                         Member
Altadena, CA 91001

Sam Grissom                                                                                                                 7.59z5
Douglas S. Vocelle
104 Noah's Mill Rd.
Madison, MS 39110


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member (See Attached) of the corporation named as the debtor in this case, declare under penalty
of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date November 6, 2023                                                    Signature /s/ Michael Bollenbacher
                                                                                        Michael Bollenbacher

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)
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Livingston Township Fund One, LLC
Title of Authorized Representative

Mike Bollenbacher, as a Managing Member of Los Robles MS Investment Properties, LLC,
which is the Manager of Livingston Township Management, LLC, which is the Manager of
Livingston Township Fund One, LLC.
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                                          United States Bankruptcy Court
                                             Southern District of Mississippi
 In re   Livingston Township Fund One, LLC                                            Case No.
                                                             Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Livingston Township Fund One, LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:
Livingston Township
Management, LLC
1787 Roosevelt Ave.
Altadena, CA 91001
Los Robles MS
Investment Prop., LLC
1787 Roosevelt Ave.
Altadena, CA 91001




  None [Check if applicable]




November 6, 2023                                /s/ EILEEN N. SHAFFER
Date                                            EILEEN N. SHAFFER
                                                Signature of Attorney or Litigant
                                                Counsel for Livingston Township Fund One, LLC
                                                ATTORNEY AT LAW
                                                P O BOX 1177
                                                JACKSON, MS 39215-1177
                                                (601) 969-3006 Fax:(601) 949-4002
                                                eshaffer@eshaffer-law.com
